
66 So.3d 300 (2010)
Dorsie NORTHARD
v.
STATE of Alabama.
CR-09-1645.
Court of Criminal Appeals of Alabama.
December 17, 2010.
Dorsie Northard, pro se.
Troy King, atty. gen., and J. Thomas Leverette, asst. atty. gen., for appellee.
WELCH, Judge.
AFFIRMED BY UNPUBLISHED MEMORANDUM.
WINDOM and MAIN, JJ., concur. KELLUM, J., concurs specially, with opinion.
*301 KELLUM, Judge, concurring specially.
I write specially to note that this action appears to be Dorsie Northard's 12th Rule 32, Ala. R.Crim. P., petition challenging his 1984 guilty-plea conviction for capital murder and his sentence to life imprisonment without the possibility of parole. I believe that allowing Northard to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir. 1986), to prevent future frivolous litigation on the part of Northard and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App. 2009).
